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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CODY A. ROGERS, on behalf of himself
and all others similarly situated,

Plaintiff,
VS. Civ. No. 21-0376 KG/SCY
3BEAR ENERGY, LLC,

Defendant.

ORDER

This matter comes before the Court on Applied Consultants, Inc.’s (Applied Consultants)
Motion to Intervene and Supporting Brief, filed June 21, 2021. (Doc. 10). The Motion is now
fully and timely briefed. (Docs. 26, 27). Neither Plaintiff nor Defendant oppose Applied
Consultants’ Motion, and the Court notes that Applied Consultants’ intervention is appropriate
under Federal Rule of Civil Procedure 24(a)(2) and/or (b)(1)(B). Accordingly, Applied
Consultants’ Motion to Intervene is granted. Applied Consultants shall file its Motion to Compel
Arbitration no later than December 6, 2021, with any response due December 20, 2021, and any
reply due January 3, 2022.

IT IS SO ORDERED.

 
